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Gerald G. Cicatelli
109 Sky High Drive
Stroudsburg, PA 18360

To whom it may concern:

It is with great sorrow that | find our long- time friend and neighbor incarcerated for a heinous crime
that | found, frankly impossible to believe.

We have known Ross Roggio and his family for almost 35 years. They have been wonderful neighbors,
something you don’t find anymore. In fact, they have been the neighborhood. They were always there
to help no matter what time of the day or night. Ross has helped us cut down trees, rake lawns and
even clean my wife’s windows because she could no longer do it with her right arm nerve damage.

lam an invalid, as his father. We count on Ross for so much. Our country seems to be going ina
direction that is spiraling out-of-control. We need to return to old fashioned values. Ross Roggio has
them. Please consider our recommendation for his good citizenship.

Thank you for your consideration in this matter.

Sincerely yours, ,
bh oY tay
" < Gerald Cicatelli
March 2, 2022
Cc: Gino Bartolai, Esq.
238 William St.

Pittston, Pa 18640

g DEFENDANT'S
g EXHIBIT
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